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                                                                                                                                                                                                 Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:38:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TjHm4awz0cAkEG28+gGXmEgudEZyHRMxROW1yIUSKuI130MH/EspKDbzZyhRbHV49H+500v9fkgmukBgMlmvvmx6rfwqkx9xRaf6N1EhPliOW3tU3K5v2pwtAMEfvT91gsw1qTAj7bRZQc/vZCDzjRPthUPZ6cn2D7fbIEe59N/U8s0RFbVMA0pE5N/
   Un9i3oIWre1Rm8eyv0qFmLqjXPqVJ4lgzbfD2EWd3/0NeP5fHubJtpK2uu0kRahX6LCwiNnse48HY0hsfGb2o6IGEZbpzyLFsNuvl3IXyZphRb1ZY+aoeLXysUtdGT+ceY8OI7MqAdc1HLZ4A/7Pdw4g1+w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-38-15-GMT.mhtml

   Hash (SHA256)
   a0493ad4540c737c19132dd5c348e04d7900c3b811fca03faf51f056d1b852c2

   Signature (PKCS#1v1.5)
CshlPhCmLEZD5qB+RQHwIB12pWlHarPpjsbgG6qkK7loTK3dbc1kX/GKsmvR3Z8UNYQ0SdoCqvnuL+LURh66GcXmGiavPp9yc3vG/FBJ8Imhk+6k1RuZebJmcmcTjQWGvSefHgwxIJAonN9J24TbjQDcA7bl4FnMlNv0LrpIaww+hUKucRlWaZ19f0fnHn
+8abTUdg1sEDJF422HlYpoK59pPeYE2EDZ8dTgjkZnElnqLAM8gRizt4ROpkNHr3pXSnjwS2XSs2wDY/rW9RR+DQxB3AXvgHiowBhiAsIHsGIl6E7G78gBUGFYyXhnMmBiI8tu2a52+8ao5e/svVuvyg==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                                       Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Ascona Gold Smiley Face Necklace for Women Girls, 18K Gold Plated Coin Pendant Paperclip Chain Preppy Necklace 18'' : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0993DWDL8

   Collection Date
   Wed, 10 May 2023 07:13:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X7iYX78invyDny+PGnt7SxxYyFovwcx/z2auaAvLWB+iNm/daL/EKXXbMO1hQ1P6AlP+F5ud0o1qtwYiy1/yU/h9oMW7LQolEyzN+BknB3anBpJpeeiScyeQC98tfdSo3VTB60RzSX/mJmY/CwCtoCxgGmBMs5gV05qkSyOnYrcz0r735bDC/
   oaUwIsJbHZACeSZ5KYJxOwTHZBbV60dXxtE9i53dvcIPrhI6WPTTEZQ5yzFCkl0q9BWxFXuaLMj1yiOLYzTw0lT4n2ZLuRzxjaRu4Mmxoq+OWmLQ1QqO9xP4pzdgGTWLM7QQg4Eg1gNoPEL5ECw67C7YqypeixdKA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0993DWDL8]]_Wed,-10-May-2023-07-13-46-GMT.mhtml

   Hash (SHA256)
   1186161b10abb361df073f4e24a5d2f55515b952d4c297733a190d72cf25cf74

   Signature (PKCS#1v1.5)
gxo1zW164I4uY4AqJf3EQ6WIDrgMyzpB1hEoSnPiF3L20qhbRPfJTvVew3DoWkHZfhV1O5hPdVsXNhbO+mnmaHRF4MJCMOvvc6tSFJKzO+vxgqXZJaMu1r3FwCxR9S+2/tNSj0DdZBiNAjmTw8zSvv21s+Svhia1LP2MUEneVit+nXibcG/f7TGQFcjjM9ZeQb1aTdMF8qoXS+kKrspRhrfXg1Dc0v/
jsJ7FemG5Ii7ybPNjHkmBYeWdz55qjE3G8/FM7VKGkjrelTdTSpFV+pLXmPZZmP/OEjcsEgg0P5l+9mwIRqTkHtzoFCFmWeZNq7HtEWID+XfH47LYRyQHfQ==
                                                                                  Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 3800 Pcs Fruit Flower Polymer Clay Bead Charms Kit, Cute Smiley Fruit Clay Beads with Elastic String for Bracelets and Jewelry Making

   URL
   https://www.amazon.com/Flower-Polymer-Elastic-Bracelets-Jewelry/dp/B09Z65JHQQ/ref=sr_1_12_sspa

   Collection Date
   Wed, 14 Jun 2023 10:49:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VBvXt9uTNuBbh64y4yBYbmIPwi/U0yto3/FYwKdDLdbWuhu37NheogLOT4wkKydRwCGmV63T0tjKpjnBIfgrG312fp8nXhLvRWcNM+gt1KgKxOhPRqElTzr9VWgpsRNBVN1IJ5FC5uiIYNDPYTDF9WMDXPvcVpK/q9mse+liLGc=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Flower-Polymer-Elastic-Bracelets-Jewelry[fs]dp[fs]B09Z65JHQQ[fs]ref=sr_1_12_sspa]]_Wed,-14-Jun-2023-10-49-07-GMT.pdf

   Hash (SHA256)
   8218de7efcabc887172489add513d80a88da6b726c3a513921fdf06c85ce6f54

   Signature (PKCS#1v1.5)
Mk+jHtxqis7d36MFIh7XkazSFhkbQUdpdp9SsDPtiT4fQCP1yVHSjyh0KNOhUQ7vRie4GbpmAewNxcHSJhOhamo22pfhm6wiX7nV4XckvALZcqO6S7Nsnt4fPM9qb3uS+mSWUPgy+trfKpupFIeHDFOyKZGlQQseNCWcbpagUoA=
                                                                                 Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 03:43:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lCjQWdq26CkqMx/xAbCwq0HMPzRlKGFAxCGHjtWT7V2RFS+yFUBGsXQYJaYf8cuy24MiCtjn2Er1Vk0gKLrwqksiSuk/8fnru5yDZ1fcx0UxlMQPvCGfOx3d/RR7AaBBte7eJDd720CiVHe7o6q+ohrX+JlqWtdWBLY//
   Sew97RZQoQdCzzYtLky5ZxDIftptLhThNBg0AAdkQCgfyXdNO0H8K1LTf4nzXYCmXlH4nwq19JgLvwK5P2EDgsWG+lz1rODRV8ll3Qb+8Hrj0/IxK0rLzSEeZ+jknHI6hb2A4kOhv0FCssyqz1biAwh1XC0nQNYvQ9A9ZFY0DhH9MUEBg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-03-43-53-GMT.mhtml

   Hash (SHA256)
   0fda8e9ff1aa466a81b870b863cb48281934d3f18d64f6f18803f02b4e1f22e1

   Signature (PKCS#1v1.5)
MML0zgj1BfuprfR0UYG1D4Nn8oLYbXQuXVFgOn45MUI0Z52oyn/Oe29aJcdd312NeonA3ig3te/5JsVY3gfK6YKx0R94hcT6y5PdrkOZMFBHjTzuZBv7R4Fs75bJYiW9gM+7m0x2cWAQO7ECZwWS0MM/NK8GigSF/
ttMfU0aWDVYrnKqd5Wt7tj7w0dmirWjjzFNz6i1P3HXnBcOYAnYbdYvrtWymFMK+HGF+WEPEzOLZ5TgCyyGCi76gpSqhnAO+/6p4zbXLTfIHujQFkZSwJ4nTKLOk3feBXM9V3H9R9OYv+GTMGhrE4dHejxTm44fbTqo9EINsLigXTUZHJfmCg==
                                                                                  Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Aunyn Badge Holder Retractable Nurse Badge Holder Badge Reel with Alligator ID Clip (Cute Daisy Smiley Face) : Office Products

   URL
   https://www.amazon.com/Badge-Holder-Retractable-Alligator-Smiley/dp/B09D74PFNN/ref=sr_1_6

   Collection Date
   Wed, 26 Apr 2023 08:10:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C74M2YnMwPkFk3Ks0dYrXD7S5ZoHEtv2H4FE5QhpKC9zPXretDg5DVRUQAMttMShQzpNfTGppTGTzLsKqqzLB05lpZZCnBhHxd30+1hZT108qhrGBeMwkQNpUJhr9xA2DsJMVLIBwCrVELRXa7S6IuZmedl6i9NSmVYFZtZVaJM=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Badge-Holder-Retractable-Alligator-Smiley[fs]dp[fs]B09D74PFNN[fs]ref=sr_1_6]]_Wed,-26-Apr-2023-08-10-57-GMT.pdf

   Hash (SHA256)
   059a41a6ff1c4b1c137d8244fe62fd8fe932ce1850b25aa34e9417f93e930bc2

   Signature (PKCS#1v1.5)
UWmLTTY1QrHA6sV4VbNtKU1+xrg4EYQaj3NqIivDEG2haDBYOTCVI23P4CX0Cytz7qng8Tn1d9I/JCj5W/Nzt3yQPJI4Qd0Q04UMxfG7+UarQ/7k6wPQYpbF0+BEZlpz4GcM0MED0Ap8oyTjZhkXN+wkg4wXx8IHwNC2Z3dYDns=
                                                                                  Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 07:27:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bxt+9m7JWKKgTPbgSuTMOAhdXE6zOBqIhmhfaRbijC4Qo2hL2AqvOdPp+1NssUj2tzTjDEiECUvoiU4AsP4ohxI3fT2NFRPiF1n81+K3HbTpUrIn6YWvCeeki5oXtJeMWLCBfKGyG8g1hTayKRZdeT++86cJOA26eJ2DpVvYI/eSYxQdM6q81mtUfCgT7zj0oi16+DimrxYu/
   wPe0EqvV0w0Zi7NCsBIgXk8GEfYKRkhlATdZIffNYNCj9XFspShGjMVoKvQDXrAxyXXrW40F0kloZKd01QvGJQRfCh3WofII+jZiX02SYl0hHRrSjC/dkSglrKZEW6Payck+WgHVg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-07-27-55-GMT.mhtml

   Hash (SHA256)
   1d469d148516b4be19b02d4fa04338f08fb24c470ff9ed96a7bc933ae5ddd338

   Signature (PKCS#1v1.5)
PrVhuZZJ3RjPVN8q3wkU3QwnqQ6qg3RaPRto8qOGpgpVsTG9W//Lm2oYVjgqp
+ZLWGlIAafN/8UV9cOnZP1eJpHKZMgQdHnfTrBEZ070fGVc7ll9+R3hPHNwswaTzBX31IyegyrFfRvUk3WLpvzUNx2DWYyB/1AryrqqN1+7u00v35u6X3yLqNWlQS3DQx6o4ppGxXr2QedPjJJ4hOndzanqgYhyvNtg8c
+OUlhPgLuiFKNqyWwLnukbnmGqWnbec0xHo5zSa2Wc7r9Y379Ew6HNOglSPdpyDJmSiGLkcxOf7sGoXmRMXjb3rmcNRWPrNBXQcFpCuRpbLTfyLkYJhw==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Lucky Smiley Face Pendant Necklace 18K Gold Plated Stainless Steel PaperClip Yellow Necklace with Luck Smile Choker Happy Preppy Necklace Women Teen Girl Boy for Birthday Graduation Christmas Gift Jewelry By Auxamy : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Stainless-PaperClip-Graduation-Christmas-Auxamy/dp/B09GFZLCZS/ref=sr_1_122

   Collection Date
   Mon, 24 Apr 2023 05:44:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Q7UC1E+9Lb1s1RKaxJyoIsCCr4xgIWsHDe7WDXuMLUiP08CEbUX90ntThmnEgnN5pSDKjZVI5ktRxYct9iJIRAtENxLhodKFiKmArDTEZF9ctS/4jNPGq9OApWxdtr84wM3qtNpRVxsM9G5VYLIYaCk+vEaIoCvylUvGFEyxQKo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stainless-PaperClip-Graduation-Christmas-Auxamy[fs]dp[fs]B09GFZLCZS[fs]ref=sr_1_122]]_Mon,-24-Apr-2023-05-44-25-GMT.pdf

   Hash (SHA256)
   99e91ca0ca7f80d3ef9dfe5a57095ed2775e8cfd76b853bc776d6166e483991d

   Signature (PKCS#1v1.5)
NR8J7fWjXAKzuLOO6vIM+xnA0MIUtQq5FsyfwJM7EWBRXGGx/vJFQ/tIOVC9ivUt7Vg0vm7WNKfYZzEc4h2qvejOb9JmZIyEYO+XReKfqgMvm+YfioZVZFIcr3SFBVfv4UesPwbLsmAdiHca7BNZ7zKY43Pk6NVJyENoVQ3DPO8=
                                                                                 Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 02:57:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SrMv3d65atHxHcET0bRiHWBlX6J7NIFvpK9gj5cb9XNUFAWXa0InwXwCX2h5UbxWMEMEVIb14A/LzWrSN3Uk8EhbLiLGM34f5sf/eLTqeFg71RsOZsaqTLuLaxbZxZZ1Zk448q7BRY1P8yjnglMf/y+/kHUCkQuV/T76Ix7Jsb
   +n9FBdgdS0TWPDjcKwM3ql3AoDbOi04NymvVvAeLfCiKtPElJy08FyhDsY1nObgLEb671HXEt3rH3fXxZ5dlmVXOd6+nE4J5A0DUYpvGs56bXp/B0qevf1ZNXcCpvXOyBLL3m2IbhaQQHDNjYJGfBdecs//5opRfQMbw6R3zU5Kw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-02-57-37-GMT.mhtml

   Hash (SHA256)
   239790fbc5f43cab1e08273e03295e4e674ec27f048a9c76045b79a5492a084c

   Signature (PKCS#1v1.5)
R17s1nOCRr7bV3Dv06OeBVvxNIIb//AV/ZK72i9GVBHUd1b/xCWFe0QIKhKUdEzbZjYPNzSxb0ZUtmfwuKa+6BdFWHcR/nWnvBCB3mRVpHKeQKeJ753QT8+RRvBOfLxUTqXy1T+ECiIDyUTdkNuKXbUWZmeU2jzTyto0A7JtAj+u/2sZ9oSnvopDleoOOEbg0YysAhTl7rKMZ8vFuUe4pIASDvo/8ns
+hUXjMn3xIS2/yXadBLHTa7SoEQ98TwEwip1GKo5rj5J+M7wCBdtTpjS/fTIPpwEZHqlzw+SeK7NIHE6sYqIvvCsS106X0BpNUJOVwqCvqVtZzvPrCI6iiA==
                                                                                   Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: siduater Strap Case for 6.7" iPhone 14 Pro Max with Wrist Strap Kickstand, Soft Slim Electroplated Case Shockproof Protective, Adjustable Handle Grip Loop for iPhone 14 Pro Max 6.7-inch, Smiley Black : Cell Phones & Accessories

   URL
   https://www.amazon.com/siduater-Electroplated-Shockproof-Protective-Adjustable/dp/B0BNX4TRD9/ref=sr_1_65

   Collection Date
   Mon, 24 Apr 2023 10:31:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fL+w/RVPegig7s08PoJtHPASjzcwZLN7D9iudrcJ33ZznNFRrD7ezitxTLXjF8rfMvTcF6TG0dnidv0c4dxH4qHVf/1426awnmSsjKzwIT0Vc65Uh4GecW3M92C7aWCr/6bfsEpxBBpNSlPSppVQpQp1fTlgQtzF8+2YW25nWRg=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]siduater-Electroplated-Shockproof-Protective-Adjustable[fs]dp[fs]B0BNX4TRD9[fs]ref=sr_1_65]]_Mon,-24-Apr-2023-10-31-43-GMT.pdf

   Hash (SHA256)
   ad8d6ac96759b3d5a75c6550d4ca680c4df842dc0dde40ea153893ea7ba31b9b

   Signature (PKCS#1v1.5)
WEvaLzm50RfpDx21nfwX4SObK4TUpnfmzC7VjrI68im/GGYyPBB6NqFAomUgpcxf3G3ke/9Z8jXrBVbhkbwNNkXqO5QUozdq2SNc66b3Xkgeg7i2OGOqZAwINK0kCARsL+h9zUdgP5iECIKVYZPqffkIO4xY/VChGMuc7daIIL8=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 10:54:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FvOY+5Z+7Bli6rWxg9vroXF8y71LuP40889zExws1IS4YdekFYZITmLqlHYDQmyyvQ1kYPmP4noiBMd7+d9eMjySryAi3ySxN7nbik6/K/KQy6MeuwsCdVa0oynXvB7EmhzeZ10IYB73WP8HwZ9HM4YkxXn1xIM6lwZ
   +AwUt3A5IpYU5Hw0SE7SScZzUZSTOe5arSFJLNKWaYa9AhvEe2JW0ZwFxSE6bJAfDtJIs0C78Z277ifRNqKCbNxreVQXlNoJVlmwfB/N1rv1MRWf5SjabKOwpdSKz/rIBNT7Wa7jMkKRrjjYWTwZ01w8QDENb9rr96xUne6qrjUdFR3yaMg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-10-54-50-GMT.mhtml

   Hash (SHA256)
   58f0759454955a6c2ea91c526c4321a1da170c9840fed0e4d5a7a886e3a0c7df

   Signature (PKCS#1v1.5)
LwkEM/m2FK8AZgN7kPG6Zs4fasfxaZRpQsAYc+Iw6Wrgeie/aeUyBTWafEJY/RZgDIc/B6EBK9nOyoQ3C8HEMo6BceIaqMpKgUM0zEhN8V5fLgid3oN6fjEEriXFIofUkWMVov0rpf/83am6GhH54P6i1dxrIFecAwFxKsfrXLEBg6uZ+DkrEkmFa92I4kwO2Tq5u/
nhhADD0rcouiDaRl4+ANQvQrtufNmqp99Q4nQlrUUeHgseifJO8zUVOSrnXmC8CaS0j7K72tZNYM+YKIEo5bzwK4XN13uQjyIqBzQBGh3MLsJ8wjd0rBIuYFL+4z4PT6VPB78/25pGsfhlWQ==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smile Face Baseball Cap for Women Men Cotton Running Hats Adjustable Dad Hat Low Profile Unstructured Black Hat Black One Size at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Baseball-Running-Adjustable-Profile-Unstructured/dp/B0BQR94BBY/ref=sr_1_26_sspa

   Collection Date
   Tue, 25 Apr 2023 09:34:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Cp2rs4vIw9IWIBylwd3lKtEH0wxB3g8Xlg/6o3DVQ161X9n5uBBUUBrZB/nGPeYJ3fYBPi524xrW6EbHtXxAodTFEqct9NMaY5zrvBayZp5GtQS5eWXE5C/Ol1MEH8coQ+UbLYH/23lGEqR76BeKXjt1o+lrFbjI2NNQYv664MA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Baseball-Running-Adjustable-Profile-Unstructured[fs]dp[fs]B0BQR94BBY[fs]ref=sr_1_26_sspa]]_Tue,-25-Apr-2023-09-34-00-GMT.pdf

   Hash (SHA256)
   1f800e1a89825a352eb1fb9b6fe063b1ae0633e3f90258db1db064a035f65f61

   Signature (PKCS#1v1.5)
sVjwk1ghMXv+Vbk9NqBY6q1dyvKtcpYyfjFr/cdOIa4xPKvm+O6WW/Z94BQ3za4CPlDRaZmRmjPQm5WyCWaJCNBo1ZY9AgrZPIrO57IIc5pLviBv6HcnSW2cAVdjomqdPwmYnoURhYZpE6pfr/YGZqnZ5frahPApYC176yRp7LM=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:26:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WE0WGpa9oC8prCFtQCUMQCklAwQFPwn7IrUw+ympvGnZsDAnHn7109T0NN+h4BgR8jNXDx3qImL1gmvZ02qdcXFiLateTiXSCGqqN5aD0xViMv76nZHjlC0nKB36ZV61T5Lf7j6PUMCR1+xXb4fWUoP5TwRBz1OuIXC7Bmmv9wmUQrZ9GdaHu/GxrraA
   +ozSVK1iz92yszE3NUvP4WmX31uA11aRmm3SNhU9J+W/GVKBQtsJB0DJ5W40WSdBnuFDfqBgopR3RmvTAVlZto7FEDtVF7n4icrx874qgbnnY7/VMjhMucO7O9rn/lOpPbBncFSB13uOpQrmIYgL6DHiXQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-26-26-GMT.mhtml

   Hash (SHA256)
   06e02756ac725be99a80fb316636787cc05c8c0ea1be19ac10f47f623e76e961

   Signature (PKCS#1v1.5)
VXQWhqxwl1v1OGZxGdUGg3JCIxz6C+c9deSj5PL7kReSR+QnUh+2AjWyn3A/2/22tuuPuWJgE/JBkoDG7+YEFdY7CXiBNFejag3wDs+fSLs6OFYRmbmuiWx0wF/uaKak0LfKUeKNJ50QKJBWlLIAUEgdQdg91ScaM4eyAfjKyJUlww57pEM/2iwvjiFFcuU9dvmgx9fjxbPuf/x2aDvL
+bUopIBi3WwweomDlnnkcCpyrRu474q6Umm92EUUijgvGkAPN6ple8IVvyCW3/XBOQoUZXufX1j8EhzaV3b669kmwg2enfersng34qx3JJ2WOi6pOm0LgMLj5/3zG0jmWw==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smile Face Baseball Cap for Women Men Cotton Running Hats Adjustable Dad Hat Low Profile Unstructured Black Hat Black One Size at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Baseball-Running-Adjustable-Profile-Unstructured/dp/B0BQR94BBY/ref=sr_1_26_sspa

   Collection Date
   Tue, 25 Apr 2023 09:34:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Cp2rs4vIw9IWIBylwd3lKtEH0wxB3g8Xlg/6o3DVQ161X9n5uBBUUBrZB/nGPeYJ3fYBPi524xrW6EbHtXxAodTFEqct9NMaY5zrvBayZp5GtQS5eWXE5C/Ol1MEH8coQ+UbLYH/23lGEqR76BeKXjt1o+lrFbjI2NNQYv664MA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Baseball-Running-Adjustable-Profile-Unstructured[fs]dp[fs]B0BQR94BBY[fs]ref=sr_1_26_sspa]]_Tue,-25-Apr-2023-09-34-00-GMT.pdf

   Hash (SHA256)
   1f800e1a89825a352eb1fb9b6fe063b1ae0633e3f90258db1db064a035f65f61

   Signature (PKCS#1v1.5)
sVjwk1ghMXv+Vbk9NqBY6q1dyvKtcpYyfjFr/cdOIa4xPKvm+O6WW/Z94BQ3za4CPlDRaZmRmjPQm5WyCWaJCNBo1ZY9AgrZPIrO57IIc5pLviBv6HcnSW2cAVdjomqdPwmYnoURhYZpE6pfr/YGZqnZ5frahPApYC176yRp7LM=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:26:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WE0WGpa9oC8prCFtQCUMQCklAwQFPwn7IrUw+ympvGnZsDAnHn7109T0NN+h4BgR8jNXDx3qImL1gmvZ02qdcXFiLateTiXSCGqqN5aD0xViMv76nZHjlC0nKB36ZV61T5Lf7j6PUMCR1+xXb4fWUoP5TwRBz1OuIXC7Bmmv9wmUQrZ9GdaHu/GxrraA
   +ozSVK1iz92yszE3NUvP4WmX31uA11aRmm3SNhU9J+W/GVKBQtsJB0DJ5W40WSdBnuFDfqBgopR3RmvTAVlZto7FEDtVF7n4icrx874qgbnnY7/VMjhMucO7O9rn/lOpPbBncFSB13uOpQrmIYgL6DHiXQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-26-26-GMT.mhtml

   Hash (SHA256)
   06e02756ac725be99a80fb316636787cc05c8c0ea1be19ac10f47f623e76e961

   Signature (PKCS#1v1.5)
VXQWhqxwl1v1OGZxGdUGg3JCIxz6C+c9deSj5PL7kReSR+QnUh+2AjWyn3A/2/22tuuPuWJgE/JBkoDG7+YEFdY7CXiBNFejag3wDs+fSLs6OFYRmbmuiWx0wF/uaKak0LfKUeKNJ50QKJBWlLIAUEgdQdg91ScaM4eyAfjKyJUlww57pEM/2iwvjiFFcuU9dvmgx9fjxbPuf/x2aDvL
+bUopIBi3WwweomDlnnkcCpyrRu474q6Umm92EUUijgvGkAPN6ple8IVvyCW3/XBOQoUZXufX1j8EhzaV3b669kmwg2enfersng34qx3JJ2WOi6pOm0LgMLj5/3zG0jmWw==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 15:12:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MkqfHMeaOtVVjBn5n4eoYzCAMqQhK0hMBlCKrmmo+Oyc8hzGgokSkj/RN/MpZDLAtUSSefhfzAZF/xuJo6Jnt+5PbYkVE8Ns8mR3HJ7T2CBsH6X5SMmtrpr2+qdDy4pgfBDedWK3XPzmLiFjSbDqhsxunD
   +DcPTZVzBDXxBlJtrHNoht1+YoPDuehVq3nKx0G4zDmULZgjbef18lLKjRNx2PmpMMSsgtt1g2Acu4329OIDu5QmB977mTB7EinNDz+Oik5lY8RVKxw2B3q1o+zSftYLuRxTLbkCoTdmimlSi/xh93PEkogDSaHmg8O6+oDfH3BQ4fSU7652rCWU3FoA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-15-12-21-GMT.mhtml

   Hash (SHA256)
   be7ca95ab6d9bf5118f8489d3d2bb84f5d2ead04ba8904eab0e6350f30ddb6c3

   Signature (PKCS#1v1.5)
oMfBqhR+HkJY4LUxGxXIQtHf9gEAmF7x4jxbeoD7/AJGUruPPYz5a4dcP5k60O7TvlwWVfcvBP0XT8P9A76Hq/qjWUwMl2i8hAjqQNxPUaWCvKLIGAYy4GQd3wOwPBWPZINmO91Faakrki7LO0qnP2tYtx0V63l0/wGBTk5i0yAvmAXntLcK6vsNtt/3npDqeQ0q0Kx4/
zX0Z7DloADLCuBVlUV1NnBpJsY/CZU2HHlnm9J7E/GSRXlRnQbtlORuMVdRgbAeJASBLmVrnqc4UGubMwJit7ALDpF+EYLudVcgwusKgpW+4NLvnLd7r2exYijRPzPYw5CeE6O3g5h7qg==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Cosmetic Bag Pink Preppy Bag Varsity Toiletry Bag Aesthetic Waterproof Portable Cosmetic Bag Clutch Purse Zipper Bag Travel Party Makeup Bag for Women Girls : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0BCDTR6M8

   Collection Date
   Thu, 15 Jun 2023 05:12:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MLp7lLEGElXlK20L0OweZoo/KZlTDz6AgqhQFDK26G9NWqxANbJxwmuk0Vyt3RADNAY0aqvCb5xNq+f5/tPBNbqeDxCNGf6umqc9axO+9IQBs/CrCNDuXPrlCkCZoikFUh+CMGNobHD76w6EJI6VMng8Bf8ROwRIUkIUrZbm6I2LFQkamYtV1S4CceVmER9HzyPQabz7K8Ed0Zi4Zu
   +SPbhrZioEKPWJ/eED4Fqo7mIYA/89qZnuNIA0J4fZF+/dIWpx7D9ElF7B8wCyn01EFa09NrZVtL3cnL8V6hPSZ49JiThUN8CAl7iooCNqArFt7VJiRIQNxXkZOKHdQFgdpg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BCDTR6M8]]_Thu,-15-Jun-2023-05-12-56-GMT.mhtml

   Hash (SHA256)
   78d2553e14abcaf9c58fe8308b1120bff2077bf32287961e1e14d15941815a86

   Signature (PKCS#1v1.5)
dgWuvwgzZoIwLeTMxWHwxkcQxv5JVk5mh/gfWF27nPoYUwtq8OL0/lQUffnUPDw/Q2m5hpvaadigTAVWmhrrl5ihq2mp+xUc02/akllXTm1Mj6nO6CSxPHZidFk2uIKX+0eGokeYg7cSI8Fp2sPhCic49i7gm+ZYOxMg6Aut62kpQc4dzd5gz5N0rum3Toe9Skre/HpKQc
+bRCpQN8iV0eUWUFSVpYTNrG+0FDhPxnfZwLsmXsCUh4TG+xuf6J/R6alJQBkrLqDA6gdldnlElyKEmDj7HcAls3V/ZP4ZGx8cuUOhrJ0R5t700MpJsiCukZZdUNNGuakCTb/4bAHDMQ==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                                                                Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Bee Balloons Colorful Smiley Face Flower Balloon Decorations Huge Floral Balloons Spring Themed Birthday Party Supplies First Bee Day Girl Honey Bee Themed Baby Shower Ballons 42 Inches 2 Pcs : Toys & Games

   URL
   https://www.amazon.com/Balloons-Colorful-Decorations-Birthday-Supplies/dp/B0C1GLSR5D/ref=sr_1_36

   Collection Date
   Tue, 09 May 2023 10:12:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IdNecNJYJs/jZMUCRXQqJLN/EFd+uAvPGNJrTDevYjZUKPi7fq7dy+w80ldNoUCKDl7HfXxXfFL1Rir5rSORvVOqClAVzT/jmFzgsozWaCGkrmLcBqYfZvAeN17jUG2uic1Ac72R60j8JbIdZ0bk35ZGWC9D61aF5wN6VGV6DPE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Balloons-Colorful-Decorations-Birthday-Supplies[fs]dp[fs]B0C1GLSR5D[fs]ref=sr_1_36]]_Tue,-09-May-2023-10-12-14-GMT.pdf

   Hash (SHA256)
   fe818a4c75f6c752551f1b8a50df1d1441892e8075ed4bdc5b26cd9b35c725fe

   Signature (PKCS#1v1.5)
SsoLYGi6e4I56gv/W69CbokPzDd+YfPfVT2a3mWDfk9B37nMfJ3CBokWMfpFU1ksRY6TN4iqVnBe0XsNf33Irdft2RP03nOVvSZ4+yH7AxkR8C3WGoXc8d6uDqwCuJ90pUEvu5q2CvbLSOA5YEeQGcUaCE3FXOSP34SMfPvg174=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 09:02:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jfNA/pJQMMjmLZhM8sYPKgoSi38WX/fbC9z8H1uL3LcbGZlOb5GEIejpCuCLJqrEz7nUlpnHC+eMOVUcka/0KeGCFYZ7TSeYR5/9r4BWaKs18rCjWL0clcYHWuTQMQXkrNtzEemBdvrL/hjx5PRE5RMYTs
   +mojvSNCsKjXTltyZgrBskSo6CTlMVxd7txQ0SfKkcFrHdzn55TXPzUmBBRtKzM7uJ4jpWcn9Er2VK7YDqUvIumiapuIk4y5mVcejBUWxc83K2OMzsDAZSf20Gu20vilKyUSFy2idQYWmdzA8Mq6yU1O6jy+5h6nXHekpsNydDP7qMmmZKL/vyQN7kwg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-09-02-02-GMT.mhtml

   Hash (SHA256)
   956fc287399a2566e0db729f3706168454aef46f52bafb18438662c84371388d

   Signature (PKCS#1v1.5)
qsbmVfULh6cEDIfI8tyLuPLiGo0Rq+i4NiXMEwGI9QNTuR5zsE9xrwCQgTIdY0IDeSkCdoMFt994H4liaE4s1GgCtl0zPhF4hisng44iMvc0GdYeCD2RGERUv6ZkfZP10XWPsYs20VA8klgiAvI1mgfMqNl92u87dtHh6GvoSLOdliDe4WCO1BVsqKQEnKJvnVhTZqYz83Oznu9pr/
gdpbwVgcWo2hr4fHB9JfODMdUIKDY16XDBQBFMUKDAzw+IKuVsJqX4heEhe5jErFoQGKR/2f8Zy5qEYJLZ856Qs1olN75cSbnZnYBs0cvzlOqBrWKdJU938PcCZOcaqvF6dQ==
                                                                                  Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Lightning Smiley Face Banner for 1st Birthday - Highchair banner for First Birthday, One Happy Dude Birthday Decoration, Groovy Theme, Smiley Face Party, Birthday Gifts for Boys. : Toys & Games

   URL
   https://www.amazon.com/Lightning-Smiley-Face-Banner-Birthday/dp/B0BX6FYM4P/ref=sr_1_214_sspa

   Collection Date
   Wed, 26 Apr 2023 05:30:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D2LVs7U+2lf5Kd3ivYp3kzjVRTMpolqk23V0h7bOWlSYZAsMq6jhigB6899tMyZl+AD0qhSJQKUbmRSLCgMPu9CjIhZjmUwU6al6RHLzGJr8LIuLZf6/fs6Ov9pY4FQAAA1iID6v3vzQmMtGCzTu7Q1KqfnX/ltCUGvNHYjiq0U=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lightning-Smiley-Face-Banner-Birthday[fs]dp[fs]B0BX6FYM4P[fs]ref=sr_1_214_sspa]]_Wed,-26-Apr-2023-05-30-35-GMT.pdf

   Hash (SHA256)
   9f4a203d473895e24f7ac8e4f7429b5875649c142ae37b6aff81555eb53a3461

   Signature (PKCS#1v1.5)
UamzsvJVle+GLRIWr13aPMGi9vr9XQeUAWInUxNzcl1G5aFul2tSjEqATvY03iO/ACqKTD7pMc2DUSoMvpFxb8KjzUDo5O7AG3y0njOm+4zqfRsEZCoNpkQM9+Iv7AYsEJot5nnDQyPAohB1greVn9Wt7hvn5R8uFkOqT2x81ac=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 20 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 02:42:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VvHMnENWCHpOquuMmXz6pSgAUULSNbtnN//+1JPZk76g44woDn4nG6M2pQEfoNP3j/DttivSl8BFFQolMHzsqdfgJlgQylwfZTn4irUIhWl6yAEjZN/EGZfjYIZzEIenDK5x1DO/hL6wZQHHMPFLt8MdJCYRYyx2hkWpv4/ccY4u4jg2/
   X7n45K0ypgxj4cf7WgexiI009pJC8Ph5izsUPmc560zmLCPntodTLjfHWJfruFajAV103Jg2rhmaHUWGXnbvmXXLuJ6vkvoGHXQ1Kcg/mpGiUy0IdO1Q23SYAAFnkVk7SgEApgr+/+6VYoZ72bXJixjewn3xW4Dta5o4g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-02-42-06-GMT.mhtml

   Hash (SHA256)
   00fae653fca427c2582b611ac4b7a8338993902902652ec773b644abe03fe814

   Signature (PKCS#1v1.5)
S1Z13VWUxKE8tC8UmF6ciM9EQ+kTAJtZr6zyCzYntIfzIj+g/iePHfhH/PPWf51rDSvyCSZ57lCHcUsPBcWxp
+o6z6D4wRDXNJ2fnT2HCfwXrgDeXNDkesTxqpKZ9wATI8IDsRTpJSCbok5dzlpjSGaJlDH4fzPjobdQLe1WmhTWjqi1sAtZ1rYRTcyaEcoOHDPCaljf5dofT4mXud0XdtGvLzgWAEUYnuDOWFK0xUAVtWx8cwpHHHIzLJNTNI60wuGEykCh1nJzxsv5Tqh3BMTQbAwcUP2GkQE3q0fZDga2Db2uDm6
qFdP5AhWGnuscf78DqJYQoZoBkgvojp1PTA==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: HAPPY GO LUCKY Necklace Y2k Beaded Necklace Smiley face Jewelry Pearl and Bead Yin Yang Chain Necklace Coconut Girl Aesthetic Colorful Y2k Choker for Women Girls Christmas Gift: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Jewelry-Aesthetic-Colorful-Christmas/dp/B09BR9HLH7/ref=sr_1_246

   Collection Date
   Mon, 24 Apr 2023 06:25:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   shfdVgp4H71SaBVc5WVj74kVl3K90lOgvquqoqGweawgRfbcdydq9Iq05WvLoFc1U2RfJwbHxYMqD9Gx/W4zxlmrtGdjoUdMQikoCADMWynoikaegC27RpXas7ld4zsZRWYqH0TLXRwxFvz+fCjvJ4oULrFKRFeVPHcewjL2YrM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Jewelry-Aesthetic-Colorful-Christmas[fs]dp[fs]B09BR9HLH7[fs]ref=sr_1_246]]_Mon,-24-Apr-2023-06-25-04-GMT.pdf

   Hash (SHA256)
   38ff4c04e6d95dd206bce5704439ce4a83fd5539dc2d877066071ed77c33ed45

   Signature (PKCS#1v1.5)
IivLIJg9XEsNYb4VjCYf0X6evINkw6Gf2szpBqWhx/YFXxXxb4mXnjBWzx4ltk6TecGfNSslcj+g+y3VzLoeOOZagpg3Q7C1HAz0yyzXDUK1ca0wygvw8QOrTvCJar3uYl8ZicuERXMtri4fHXiHrcttzkb7js+jvF5jW/W9cB8=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 14:17:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KhqqCgOzkYj34kZiE4hCmDyAkh0lJuolPxOM6i3jhJo82MijrpLo3kkdTy7Gip+SDTVoX3y1+aMQi8JTF8VlkSHuTfREUwE7JxwpYqAScDMZr6FTiPrjkUrOEN9yW8aCrMQHsr7QceIer2TRAxu
   +Lt5YXOz3Gw06AstInjC3fapsfaWikMx8nfsEbQ80HHvPhYFTqjA1fAEaJM8XfnYJH9vUXFtJzA77jxvfs8ehiHFLSDN6kTZRLMGlBarph4tcPmaBOUHSBEeo4LW+lsGb5lot5aBly/5HkQG/qdmx1nsEsY9h9GRn6r1SZ8eIEleA8H5M6//+2gnJgtgmxsUqRw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-14-17-54-GMT.mhtml

   Hash (SHA256)
   1715d2ceab7de8ed6fed53eb79366222514eb4286d099c396198e19adb04bc72

   Signature (PKCS#1v1.5)
p4V2SqKakjwVUKgDIdk0v6ZoE7IeqZ/1m8nN2V8yJNnKVhkhLAVODYXWq04dLrE1qZRzh3yo3RNTjOlH7RkMVwkBSUw8YKx1ZWm6JsGgJxlfEQ1RkFl1SbbG8M/tsLE5uOFR31t6e5YZvypOeC6omxKLDjNBu4aZ3r/
Ladwouk27Xp/04DoM2wT7fHVAoo7Q36rYFNdciPm6IS4jCFuW2ZnB1oaZt5PaN2Lp0p2LJ3/BBlazuQbmJ2WHxCmXqgijCxABkRLHRiHXxP2WKna0/eGbt0Co+1TsqsGClyri9G2Z8ftOnuVrP6KJyx0gtjI8g8Fs71lggL2RaSNzedBg2Q==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Cioatin Women’s Y2K Oversized Smiley Face Graphic Sweatshirt Fleece Crewneck Drop Shoulder Baggy Pullover Jumper at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Cioatin-Oversized-Sweatshirt-Crewneck-Shoulder/dp/B0BH3WGVWP/ref=sr_1_80

   Collection Date
   Wed, 26 Apr 2023 06:15:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gf0bk9/iOi3uYpL8j+JndAMvQpIRi5ePCeHtkLWD3iRcX6MnpTnUV3lJeeOcDDT4jRRP/2lDLjiO/KVkOTZGlKMwrFza7K/x+60ZUNHbcl/UYvq/rlfuHx1fdABOD0U6yY9ceSGdfEHRuuZla9SQYluwyDH4Huur/hzRzLPU4zI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cioatin-Oversized-Sweatshirt-Crewneck-Shoulder[fs]dp[fs]B0BH3WGVWP[fs]ref=sr_1_80]]_Wed,-26-Apr-2023-06-15-27-GMT.pdf

   Hash (SHA256)
   4083004f2d19b684ec18cd79a28707c7984d0ba4ad3b84b092ad8fc05d749a80

   Signature (PKCS#1v1.5)
qy5gLqQnGdJa4pPpdhwoCaHdNLOdl7F7zuF+dl/38WVyNvH69HNvfqNRWDMEmrWw+RF9e2nXNF3SL1MCUzyqFyVUj4LeDrzs1WUB0IOvUPBoERBVhzHHjfh7LA/3o9HRrL8vR4vcLp6LQDWNZxYpLscw48+v1ubaOtBAkFKIFIc=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 11:30:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mXdN8fLUocrYyytCFdl9y9HJPmgQ0XRBamHPJc5ifPMgON7k/fC86TEiqUozYmWd4JAaDteBnSmv6CeZqIIwdGl8A1t1wJUoGvEVkSSLWVUh89RiuXjDirMu+GL6jrwzu/gJXFFOH9KNVJEYwR9BlMuBizIFtJ8PMklkHUMXVCfot544w+WjaiEGRIKueaHL4neG/
   yoIJVGSNsO22Y8h0zECParg7hlQ22weEywUyYwffrszpCVILhhNOXOo0/iR2ahp8neOOSJW+nljYNTXy4XAaFN2cUemNxIlcROFYxYarmT8wVMyIze/qEDilrdap/NHyqZr9csaoM3NE7tjuA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-11-30-06-GMT.mhtml

   Hash (SHA256)
   4a45426800039c2efd4a08fd95a49451292e09e67f502aa669dbc784d323c280

   Signature (PKCS#1v1.5)
dHqo3QDR176hTDBdc14d9iR7zp3dE6PhZwu5sKmzgjTNzAR7MbviTgTfdjM5+JBjMJYM0gbn9SovX1Af7xEPWmvFtrkdeObnsPOgJ7kDEE+wwfV3g6fudXX6iRGXsF1ViVgwXiZ1//t1wY0HXfnfAskUqsbSxYlPwABo7sPvpcnKzQB/
f357oWTjTeit664jFXrsPMYilW0l9gnUsGsNzkFZoLYP2q9gOkecprwNRmJjNhAM/gkER+Bwc6Qasx7HWNyE4fDq64KV7hH6ex9p/AUSOoVmvf5VAPxs1nYt5mKi+5jNWBptTuS+pCM8WZ8BSA6Wz+Hb7p0qcSCQSg3IIQ==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   EVGLOW Smiley Face Beanie Hat for Men Women, Fashion Winter Warm Knit Beanie Hat, Comfortable Embroidery Cuffed Hat(Green) at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/EVGLOW-Smiley-Fashion-Comfortable-Embroidery/dp/B09SFQDSBW/ref=sr_1_161

   Collection Date
   Tue, 25 Apr 2023 11:11:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PgMDaYXUHDMn9QHGbCaGpPD/WvEVWghIwPqBq2a85lET683y3UkcU5Ecci2shU8b+3vr8iJckjxvqiksNkcQ+l2QarQzAUVLQZ0GlcBzmanrSSqbHroV/kBwYrtMv8LnMfldb1U/KpYVK0f67UZHJ0O5sLJELOzHe/3NICSUF84=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]EVGLOW-Smiley-Fashion-Comfortable-Embroidery[fs]dp[fs]B09SFQDSBW[fs]ref=sr_1_161]]_Tue,-25-Apr-2023-11-11-23-GMT.pdf

   Hash (SHA256)
   9d3ec716089bf9c952db14ec01dc0f418ba90a1679e9d6679e689f409dc6df47

   Signature (PKCS#1v1.5)
nnSZM0rQI5pbqAcS80T+beR+K8EMDzzhAfBHyRJn8n8JHP0dVwGEy1VIB2Wgsg6KyR1Lv/TwBP2IP2DXPVu/CNSod7nlmipJ5yUpvFq/gsnVz6Wd/clSu9ILkNBlZSovyd46i1kps5antl4PgDGGoAeEy4a4s/7hJgr0B5t4aYY=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 00:06:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RdCohe6le/csfH7c/ml4hN7olaj7V0PH0Z7uw7oiG9C8EmxTHBxLMqlOtaedDUjF9IURpht3DQjCj1RtRskUdwgNi0kEaH8+FVXc8TazRASGgYUJKGBSgJzh44yLiKA36oyEK48RO9lCQeqKLIJC+zgvKZllkNdVSwH2uafWgTmZa4jQ72PD6GVX
   +jtOFkaER5WnL8TncE05PjVbtbWIx5+ZX4kdKZXkDLEkKffvIKygVwckoeubBMnhlH4fPPH4y67JDQH0fgtvOandOhg76R0OuZpwtR7zuYaud7wUnanHk3FgeTnW7JZAhDBqbAhhJZxCdTox3rlu6MSMP7we6A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-00-06-09-GMT.mhtml

   Hash (SHA256)
   eea799909c1084c739e2d574d2f520f07314d04bedd2e31102962977e588307a

   Signature (PKCS#1v1.5)
QqjOLCjI/Ak73+O4Q0x/s4jR9kBysiMQ5i+TONf9G41dDVBQDBMKSq7ORpwUenlJGPytHeRac8ZmfUUdie6Seu0FFkWM0O8xkoIFjTZwn/oVo/loO6i2cYn3Syyvo8V5DAk1qHkWKQKs4TTISmMu0nrRdYUgXOubdjLIGxTeKcH7V8G36bUgOHZ9sXmACMRzGoUmOhI61xJvcwz/
JqwdpSVrgOg1SqNR61x/pX4pSD8dGC1WYThSbzWLMLNgiDC9l6nGlyP079Bv4m2VybASdKrAa2VqxXIQR8CtGEOOMP1Us+cB2XErPDKRaxu/TVWwOKA6X8N3+1u1YLIebWjYPQ==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: TBOLINE Smiley Face Makeup Bag,2pcs Corduroy Cosmetic Bag Smile Aesthetic Makeup Pouch,Cute Smile Face Makeup Organizer Bag Travel Toiletry Bag for Women… : Beauty & Personal Care

   URL
   https://www.amazon.com/TBOLINE-Corduroy-Cosmetic-Aesthetic-Organizer/dp/B0BTNZXQRG/ref=sr_1_101

   Collection Date
   Thu, 20 Apr 2023 11:36:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ipsuvHFVBxSk/REdt2MxE22GQ23uWM1EqoXdBPC9ydHb2K0T3HhwjSn8RRJ/6PIr6wCrAgJ7x+eUDH8RoC6hqcOonVEmy3gmWmKuZl0/jGI+91/crVopO4lYjOzU36wQcn8hEO0FPB0SEq5T/cIp+6Tc/ClUwFXUobFQxodYSNc=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TBOLINE-Corduroy-Cosmetic-Aesthetic-Organizer[fs]dp[fs]B0BTNZXQRG[fs]ref=sr_1_101]]_Thu,-20-Apr-2023-11-36-08-GMT.pdf

   Hash (SHA256)
   94029bb1718d8380bbc4e14c1b03a08207f91103d3434929314cc7bbca3ced7e

   Signature (PKCS#1v1.5)
I4sCKN5L1npSlf2Ez0uWVukekNqIh5kyreJ3uoYmYoMfepxImGG8sFMjB2jusn4VAAbRF8Df+da+mA+u4k42GK9wyRjhbOfw5r5df3jNx8CMbghY7mPewetq4VWpNqFUf2Ynfvi3Al59xbxXhzvZtJsfveo3mOBEmkKg4bm8m1Y=
                                                                                 Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 28 of 36



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 16:47:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R/zokVyRkeW+6Ag71FU6Za12rMvDWNIrbZWXWnfqrsPF/ANK8bv+qYKVPKuTJPmQXZNP4v+l51Bnzb0LHSkPdJc1f4khvkBh6MVpthdOUIWq8y+lNUE8Ecp5bT7uHOVW8t7kA3S3Y5LXeLLeTU5ypfMuuWKcVp3hGYLxaIlHoT4P
   +zRQxMJd3gAwu4ecCtdOwPXo2yolkrAIwVtviJELFPNeCWsAqDOETWs3pPE+NaWPaJ6P/1hOaW+dI0M6TvZC1s5jFuk+GfmLyTLBMAVBlm7aUJIWjqprdZa3KAD4EeYhkwE27A8HaAjidsEyJyM1ZPVnh+Z2LTjrnrfWrF0kNQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-16-47-20-GMT.mhtml

   Hash (SHA256)
   8f65a3ccf7adf84e105090a481908b786ff9b0df375a7bfa055aba36ec5bd9a8

   Signature (PKCS#1v1.5)
hmHBHqryBU2DWsfUnOCmCPu1k6hhP8MKMl0av2+QUorAcOSe65tnpcm2XH6pt5wMnpMq+t+D8xfDqXu0baiUc7fCh2BVILWXWbijlmzL4tOk78j4K+mm0L862OPLHddDbDsD4LavaHZZzAijPgye40oif0IWEdOWPQzqH6/jpCTF08UCa2kDUh1D/KL3rEzVEq+SSN/Ug
+IB2ukzFET81zqSsKegZkNHzKW+sVyokv6RVIMDBPlw02wOy95NypRIAjSagQ6oifDV/sAZ5eLzfZK/I9UGnXwv4MDPzKBkQQkUO7sJ+5PcyfRlpqS6c75X59OgaOg2JMYzqElPj6piyQ==
                                                                               Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Myrnaist Smiley Face Necklaces, Boho Choker Necklace Cute Summer Handmade Rainbow Seed Bead Happy Smile Face Necklace Jewelry for Women Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Myrnaist-Necklaces-Necklace-Handmade-Rainbow/dp/B0B4KG2V7K/ref=sr_1_86

   Collection Date
   Wed, 10 May 2023 05:27:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K9eSTqm9ef7fLXyF/uffuAZWwEz2oTtDo8uHh+5UBOXePNoWUMFVFVcH0Zu13nq1bFs0MJD9GeE/v7rKDa0T2xHmPIp8z87JceY/64WVJvCvDtzzDTz5D8gdKVxpXleK20iyTFT17LUPQeoDScVKXPtYrItlxTAAKiz267/5T20=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Myrnaist-Necklaces-Necklace-Handmade-Rainbow[fs]dp[fs]B0B4KG2V7K[fs]ref=sr_1_86]]_Wed,-10-May-2023-05-27-31-GMT.pdf

   Hash (SHA256)
   b64d66fc883580abebc192cb530f8a9cf1995e0cc2ab2c4903e5b56ecd560007

   Signature (PKCS#1v1.5)
aBz0affYKSaeN5Wf6JTf2wH7+2DBDQz1TWDYePAJALnqBmNiKN/jDkVusH9PhkG50b9QRwUKY4+bNvolbXc//p0xBTBmFHbY9TytU3UHgQ6sZ3kUU91PILzgdDhLpaZ9ajj5aMOPLtmpj94Q4EKXZ4d3Fo+3gVrCbuczFSF0yvo=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 07:35:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lYcsLEgiCM2Ahqm/NQXYkvwjEUIFmhxttx52IqBKR7YyMhWfSyzScY6U7zwPD/dhhZdRaz8zCHMNeEl+noIdH1O+1XooTGVe6u2d9gbYnjGttMj109KSLMNwhwECWpfuULBVaUmM5WaenQsw5Zz8k31AErkIOUxFSmzxnvvLK4wMoN
   +0r02wcCdgThVzYyT2NNc1gPmqFCrf7QAP7dnFnLsvhlG7/Ed5y7GfilWEDt+mC1yk+E63SmiGhuwyE85R9Wi4CLfLm8uYq/hxBfGpwfd32LibKxEaxAr0JJXQH352n+wwvM+TZIuahcqJ9M2Fi8jEBGYS9JN4572eFwoL3Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-07-35-15-GMT.mhtml

   Hash (SHA256)
   864dbdecb3ea4a03c6760c121537266e304ba560260bd1f0d2ab9f0189447f22

   Signature (PKCS#1v1.5)
fErDzcBETXVNtsWrMOtccSg2Uwst6+2b32ZZJwKF50RibqFo85LEsJGxzTU0IGVmty72EhtxnWmTqS/Vi3Ja2sm+OWOpQzxMEmHUEtLGxIaa839MrnbjYD2h3EeDTDc6nJ+7vgWoHF+ck+pyqFU6mbxOZga3Ad/S/Gypg1nzNadIeeZYGlvD1Fma5VdnJrjmeHbCNVeypLfhmOdEUcQ/aqlXtMYP
+nYm/rvAuKbabmZFX8z4L5c0kRiJRE1x3hAwOuH//CzNj/ccK7qWg67+sP1b4gEs3SFTMEUr01vs++da6jo8RULaxYKLEYj2K49u4I1mkZoe7w7Ebv+2dSlNnA==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 31 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Balirek 6Pcs Smiley Face Necklace Heart Paperclip Chain for Women and Girls : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Balirek-Smiley-Necklace-Heart-Paperclip/dp/B0B1WW5S9C/ref=sr_1_177

   Collection Date
   Mon, 24 Apr 2023 06:07:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W1nzi5BSDwLMAGLirajG2tnstLpDAj9c5xTnoBHpg4e1tnTmDO19rvGnXnhOZfQWo82YCoH0F94qGPAvSwZ+AvTYrCDU1nMOsLP3uTJe3GYvXB+ZNlh/zzY1md0QB1SvZwqa7nZ2h7pNmC+t5iIyA8mGaWQnQ3cltNIlIzvQCHY=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Balirek-Smiley-Necklace-Heart-Paperclip[fs]dp[fs]B0B1WW5S9C[fs]ref=sr_1_177]]_Mon,-24-Apr-2023-06-07-37-GMT.pdf

   Hash (SHA256)
   3353dd99d3fb937c0dd3fb3c0f1c83d6a524e2504278e4d015e7cb0ad3c93d19

   Signature (PKCS#1v1.5)
o+w9C/bTouPiXhQftm7RLH08McEvWeItxBD7CDSk7+KJolSUMsOtTt/+pQkxVeMTXdOvdmQy22chprO5d7KhgZfsiXUretZ71D1Oe3OVJ9PtNnk7hRwp0zJPVIxuHAozYgpRQkGnIT3nfhH2fybUWJw0vutfWYlpO1/mzKjfMH4=
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 32 of 36



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 05:50:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QJS3aoKKRiRnHDOT52lGRiy+ncZp5Qo7EouZWilrXfTCli6fRIZT78bmvFBxev8hP4VR2o/A1+pJwRT/5L0bWNQkdXAurYmAoPoXw2dO8ilLeZ/YK29s8B0Gb+YGFlLZ1cfX9FuY/SgIlzOUHIkkWuIBHSPvmoCoOR4Vt16dkkRY6gILrfr6vr5MAcUBgJRwTnKy4qq
   +LrBcNxqRqsHDPDCZf1fLpg1aK1Ppjb1gMX3Avbrif4MfqNM7RtqhQZo+L5JbWxVKHQkvbv/MF6suzYXxHk2EBxKsqIBO+ZtbUQwR9yoFvyEqitd/8ZOyY7Ck3QMSRZM+JaTu4osRwaZ0ZQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-05-50-18-GMT.mhtml

   Hash (SHA256)
   6b7eb013eff87f2a1c61854736f83c3deeb32209f6bc1e42bfcbd204e7f78822

   Signature (PKCS#1v1.5)
d3V39bG+wz1rmUY7uvKxgfgsQT2wTTRqDaH7fAnAuiuP9kwf74c89Eb1h/C1GMsabTkNdDPqgG/2z8TBVKs6pypv29s7YZNTh82uLoENSK8yL8S2szj5PZ16exyT9J3hTG0t70h6UyMCxF1u5BkHNEJ
+7vLAfJ3ze4U5LpbI76oKvuZlg7JIWfxUWNrHJoMudA5K2ZgJsQMp1aO3T0j7+iHA1JmOHs0xacZapgji+QJK3qOZ1foi52WYoxbCAw1u3HI41zmXQRQAEe4YmZyl44/Xok7CKbzmoxjDAThF1nGZJHaTEtJx+qJHtbj0cKHaaot8zie3g6ulEGgoqak0wg==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 33 of 36



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                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 13:29:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oLdbD+ewhKh6XkBmDAlSTXADhGLG/xuwjpYSxccjTQYPGzKOQ+UtxW/iBQiMW49As7Re7E0xs1MutRKXwE8CXsc0oFs3cRlqDsiaIyjBPMZ+BaE9+/ctYKEB4/hJeKN1n8i0IByn0yeWTaTo7FXTqz+40ysYhH/
   SSIvsUtFnvdv0mKc4hfPDLJYG8XQB9jERx59CqCWUm7fXVVeEWEC3SMMtJNIN9Ow1deZSOkP2DsFHaENM9EjR4wt8Y0ixxJXeUmIJ94rvVq3/3Rw5mEq7LiozQOYQ6Usi5bjOh1qB8nEURxmZqOxMI+h4lDUuuKYSQJQRXHcMRc774GXhjhtSaw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-13-29-08-GMT.mhtml

   Hash (SHA256)
   2b46664da2ec6975fb51adc3dec336d1488ce6e850396d7b7e9777b076c4e673

   Signature (PKCS#1v1.5)
Dz0WkEgNkbZJ9w4hXSjQqyE+Zp5Z0pKt+73PXrYPuXew/bcyhIkWho8okO2ZFse0J+c+iH/rSFztGPbcn54FtKblxjUDyOlCVVEQYk6uQKaG/T3bf0efh1rjgwAa8mB2BNC6h2iAd56ahMxCD
+Kry0vEpGxMhwfBIZtNuSmZkNpwbBuAD5se4aMwr3dD1FfqxdL6Saomhl4yiGFW9hlUevRt1KPIBB29oRehzwR8u1t6s1Vu3DF+qP10rX/HUgLU2SsMBu103vwPHVYOEMEgWeyiQEpB3eqrtogACQu00xRVhqotP6a1qLGqHjazseH5VoUfGU4195XeZ0KCbB2z/A==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 34 of 36



                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Drippy Smiley Graphic Print Aesthethic Trendy Drop Shoulder Oversized Hoodie Sweatshirts Gift : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BVZFKSBV

   Collection Date
   Thu, 01 Jun 2023 06:15:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hKtppovBG2bFN0LoN0jthH/8A1+lllm4FA/oi1o6xLdj5ZMBjZcCYhOgsWFeW5/eAogWVng/YBR8YH6JSGUgikp68XiFP4C7adVzjOQIKnptkIimxkN8jv7pjWq9NG8GJYRq5UCIIDzChDUxst6I44gqhxQgHmdDsql2aHrU0MqD9V/J+qH+xUg7ZcMyoI788o7J/16arvcN/
   C6u6xb1rnMoqW8LcybLfwTZstbAUggV+8UmnXNvh++0uLlNY6SK/pnQgzQiMWzW+ru0raDbbJl1ixe6BIbcKhrLDG6UFnEcx11uyJYCnQ6a9+l6hDn/+Fva1Gvfd0gUBQ8lK3jzeQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BVZFKSBV]]_Thu,-01-Jun-2023-06-15-41-GMT.mhtml

   Hash (SHA256)
   2eaebd0ec96d7c5e02db4fcd702e69f05c3cce994d90b7e23749a9caeeeb4d04

   Signature (PKCS#1v1.5)
LhAoVmsnLGFhXL74GsU+QstD5zUUeIHvoVvxS+xzYLASDd05STBXu7FAhsKcawYeqguZ5SpPt3KiPt9vlMRavvt7IAcJy6MT4GMFEnB3rq1dzcu6ncjbDByX2k+UrsECk9xxpoFTEuxLMY3slboAOtxymKHWUy/51tPAgoI678G5yjjfkvEOcxCUzAPA//
QPupOz6ZSFDP4KHoRufkCw7dTJcSqXQgKFTN5hZoY0kR4uOYp79VPDaBDbLrZNr/oHTnMCJUYK5HEl7sLbknyblyzWJwTjpKbLnh1VNmZAhY/lX2eqtOKgpPFw1No8AjgOA5PXwzzJjcBCSsWjiEB5UA==
                                                                                Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 35 of 36



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                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 05 Jun 2023 05:27:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.138.143

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   noFw53orGXwOG+wlZaF+Rg51OPhwij56+Jw4x/p2RGdNyuQ2PPVpOlSFflL6Lc02TQPmRsJmdRIG9nnxZLH9yjHi9m4C4H8S1GAm/U0YAV0w9tYRTkNFoxkDYMxyAZe054kwyNv0Cg5NX/TbuMMIKd9Lfe7u9Q4D72XOkzk54eQThUiPLT//FW6AsRSMq5E1i2+vr/
   frY20GsFVCAskK2QGPPZ945MjB4qH2QIDGfsvZaHrXVw9+S9dIYdYo+vbYmJ5j96Hacu39ZJlPQ0aUFg00JDflXnqAPpk1pdFeV0Ypd4OcfhShPGBv0XWTSzTfb87taVv/JJI38gRKCTrd4g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-05-Jun-2023-05-27-02-GMT.mhtml

   Hash (SHA256)
   7ef54cda87b9a0200c14e1a01c81f8fa426bf5a5eb0674ae7810da54d5cd48a5

   Signature (PKCS#1v1.5)
A7utLF2W1SquTwl4rPsfoJ5YTwzcbulfaUV0s2xN1j8kmUoAGYgwxOs18CFrU2o781xfhaKddFNBGrmyd1QJTY7vf03cDnfYL+KBYQqoFwJGbpMqdM59R97ysQWe46RLjh3Zafm/3j57HzvLYdq/BWpwK122eoXR6xQ57lKlgh9oKDUQaqQibjanGwSiEVLKhtqWjpVU1u/ish3Da8yx/
LH9FnUqtTc8inwLMKr0SE6CqUHyNVAy2jwM3UThXTeqv8BA87ajUOnHUhH1ugR4JApfLGRin+NHa7dYsUCZVY5uIEsXyLmXjh4CfRrZxVHRAsVNZvSzjrmE5bSNR0nzQA==
                                                                                 Case 0:23-cv-61203-AHS Document 34-3 Entered on FLSD Docket 07/27/2023 Page 36 of 36



                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Iron On Patches for Clothing Smiley Face Heart and Star Decorative Repair Chenille Embroidered Patch Personalized Sew for Clothing Repairing Hats Shirts Shoes Jeans Bags Craft : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B0B14YF3YJ

   Collection Date
   Tue, 06 Jun 2023 07:11:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EiBbt+iG1xFPCasSBDGclE+SO0sNvVY0KvhNsw9XNQ8an42vJ6apOpAw3EK2XFlWBAKJjlKjYgupBybfqtMiO8fLlgjx+Rt0+lSvePYQOb7j2rW0PPKFbB0yHL8c2ZM/rg14jQZ8bDk3FRQZ4R0GEK1GPf4NeZKaFXHwh7XZba9hXi0mzX
   +ehbazxaP0IwrYiCFh4p5aVGOop6NaneEE1cAbx7488816lFAdJBOKzTPlT5K3As14oc6MdndfvDCADGChYS+Yrq9aHUEV8NfEt3oZlm5XdJOYqhscWAvg0kuW0bpb4B1JKGcytCDFbCPBGUkfbxpHUI3KUPLIQXv1pQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B14YF3YJ]]_Tue,-06-Jun-2023-07-11-29-GMT.mhtml

   Hash (SHA256)
   f1087389effef90aae8fa15a8cdd9d27c7dc3f7e9a51930a413e7c09d8f51057

   Signature (PKCS#1v1.5)
Wh8uQZs+irde69o1y8Jpn6WVJbaeNU9xnL8vtgXKJ2ODuThKmoqMcxvtLYOIWUXKrsf4PiVSC6+IEn8+9FFA3zpP9u/nr02KLpaIBJ49xWgZFMpAelroRtNCkECueuKup3cUk92Nf19f7IpXktkkkccCDh4sL2yUBx7Mx0exy618AkACIzkOhtPz4FrlGDSz0EtWrhlM4Ler9bFPZhIC46MIV6zyuL7foxosq/
YagMi88Ylgp+o37HFpykFfoUKPLGi87XM3SQNmHObwDyQl+K2cLS6IcTk5ZssPRZMQPOh+R81nRE+Ph0jPk66VqbOOOgLbj3WZ+DB3/k9kCkWFMw==
